Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 1 of 41




                              Exhibit A

              Debtors’ Notice of Suggestion of Bankruptcy
          Case 20-33233 Document 323-1 Filed in TXSB6/29/2020
                                              Received on 07/14/20    Page
                                                              3:15:48 PM     2 of Court
                                                                         Supreme  41 Middle District

                                                                          Filed 6/29/2020 3:15:00 PM Supreme Court Middle District
                                                                                                                   82 MAP 2019




Appeal of: Chesapeake Energy Corporation; Chesapeake Appalachia, L.L.C.; Chesapeake Operating, L.L.C.; Chesapeake Energy Marketing, L.L.C.
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 3 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 4 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 5 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 6 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 7 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 8 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 9 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 10 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 11 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 12 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 13 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 14 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 15 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 16 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 17 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 18 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 19 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 20 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 21 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 22 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 23 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 24 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 25 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 26 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 27 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 28 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 29 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 30 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 31 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 32 of 41
Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 33 of 41
               Case 20-33233 Document 323-1 Filed inReceived
                                                     TXSB 6/29/2020
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                                                                               Filed 6/29/2020 3:15:00 PM Supreme Court Middle District
                                                                                                                        82 MAP 2019



                                    IN THE SUPREME COURT OF PENNSYLVANIA




 Commonwealth of Pennsylvania                                       :        82 MAP 2019
              v.                                                    :
 Chesapeake Energy Corporation; Chesapeake                          :
 Appalachia, L.L.C.; Chesapeake Operating, L.L.C.;
 Chesapeake Energy Marketing, L.L.C.; Anadarko
 Petroleum Corporation; and Anadarko E&P Onshore,
 L.L.C.

 Appeal of: Chesapeake Energy Corporation;
 Chesapeake Appalachia, L.L.C.; Chesapeake
 Operating, L.L.C.; Chesapeake Energy Marketing,
 L.L.C.




                                                      PROOF OF SERVICE


   I hereby certify that this 29th day of June, 2020, I have served the attached document(s) to the persons on the date(s)

and in the manner(s) stated below, which service satisfies the requirements of Pa.R.A.P. 121:




PACFile 1001                                                   Page 1 of 8                                   Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 35 of 41




                              IN THE SUPREME COURT OF PENNSYLVANIA




                                                 PROOF OF SERVICE
                                                         (Continued)




Service

Served:                 Howard Greeley Hopkirk
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                        15th Floor Strawberry Square
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                        Appellee Anadarko Petroleum Corporation

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                        Appellee Anadarko Petroleum Corporation




PACFile 1001                                             Page 2 of 8       Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 36 of 41




                              IN THE SUPREME COURT OF PENNSYLVANIA




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PACFile 1001                                          Page 3 of 8          Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 37 of 41




                              IN THE SUPREME COURT OF PENNSYLVANIA




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                                                      (Continued)




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PACFile 1001                                         Page 4 of 8           Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 38 of 41




                              IN THE SUPREME COURT OF PENNSYLVANIA




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                                                         (Continued)




Courtesy Copy

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                        Amicus Curiae   National Federation of Independent Business
                        Amicus Curiae   Pennsylvania Bankers Association
                        Amicus Curiae   Pennsylvania Coalition for Civil Justice Reform




PACFile 1001                                            Page 5 of 8                            Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 39 of 41




                              IN THE SUPREME COURT OF PENNSYLVANIA




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PACFile 1001                                            Page 6 of 8                                Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 40 of 41




                              IN THE SUPREME COURT OF PENNSYLVANIA




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PACFile 1001                                              Page 7 of 8                              Print Date: 6/29/2020 3:16 pm
                Case 20-33233 Document 323-1 Filed in TXSB on 07/14/20 Page 41 of 41




                                     IN THE SUPREME COURT OF PENNSYLVANIA




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                   /s/ Daniel Thomas Brier
                  (Signature of Person Serving)

Person Serving:               Brier, Daniel Thomas
Attorney Registration No:     053248
Law Firm:                     Myers, Brier & Kelly, L.L.P.
Address:                      425 Spruce St Ste 200
                              Scranton, PA 18503
Representing:                 Appellant Chesapeake Appalachia, L.L.C
                              Appellant Chesapeake Energy Corporation
                              Appellant Chesapeake Energy Marketing, L.L.C.
                              Appellant Chesapeake Operating, L.L.C.




PACFile 1001                                                 Page 8 of 8                                 Print Date: 6/29/2020 3:16 pm
